Case:21-00524-jwo Doc #:48 Filed: 08/16/2021 Page 1of9

Fill in this information to identify your case:

Debtor 1 Larry Allen Cluchey

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: © WESTERN DISTRICT OF MICHIGAN

 

Case number 2141-00524
(if known) Check if this is an
amended filing

g #20 only

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

41. What is your current marital status?

@ Married
1 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

HM No

O_sYes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

H No
(1 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

 

O No
@ Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
For the calendar year before that: @ Wages, commissions, $11,931.00 [1 Wages, commissions,
(January 1 to December 31, 2019 ) bonuses, tips bonuses, tips
U1 Operating a business C1 Operating a business
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Case:21-00524-jwo Doc #:48 Filed: 08/16/2021 Page 2 of 9

Debtor1 Larry Allen Cluchey Case number (ifknown) 21-00524

 

Did you receive any other income during this year or the two previous calendar years?

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

 

 

O No
M@ Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)
From January 1 of current year until Unemployment $3,564.05
the date you filed for bankruptcy:
Social Security $4,695.60
Benefits
For last calendar year: Social Security $30,535.20

(January 1 to December 31, 2020 ) Benefits

 

 

 

Unemployment $23,745.00
compensation

Income Tax Refunds - $1,441.00
joint IRS

Income Tax Refunds - $1,871.00

joint State of Ml

 

For the calendar year before that: Social Security $21,340.00
(January 1 to December 31, 2019 ) Benefits

 

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
HM No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

No. Go to line 7.

O Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

O1 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

0 No. Go to line 7.

O Yes __List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

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Case:21-00524-jwo Doc #:48 Filed: 08/16/2021 Page 3 o0f9

Debtor1 Larry Allen Cluchey Case number (ifknown) 21-00524

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

HM No

O Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.

HM No
O Yes. List all payments to an insider
Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe Include creditor's name
Identify Legal Actions, Repc ions, and Foreclosures

 

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

O No

MH Yes. Fill in the details.

Case title Nature of the case Court or agency Status of the case
Case number

Worthington Energy Innovations, Breach of Clerk of the Court M Pending

LLC v. American Research Contract/Fraud/Co U.S. District Court - ND of C1 on appeal
Products, Inc. and Larry Cluchey nversion OH O Concluded
3:20-cv-01454-JZ 1716 Spielbusch Avenue

sleds, 0145604 Complaint filed 7/1/2020,

Discovery pending

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

No. Go to line 11.
O1 Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the

property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

H No
O Yes. Fill in the details.

Creditor Name and Address Describe the action the creditor took Date action was
taken

Amount

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

BH No
O Yes
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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Case:21-00524-jwo Doc #:48 Filed: 08/16/2021 Page 4of9

Debtor1 Larry Allen Cluchey Case number (ifknown) 2414-00524

 

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

HM No

OYes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

HM No
0 Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed

Charity's Name

Address (Number, Street, City, State and ZIP Code)

Eni List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?
HB No
O Yes. Fill in the details.
Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred Include the amount that insurance has paid. List pending !°SS lost

insurance claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
MH Yes. Fillin the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made

Person Who Made the Payment, if Not You

Wardrop & Wardrop, P.C. Attorney Fees & Costs February 25, $4,375.00
300 Ottawa Avenue, N.W. 2021

Suite 150

Grand Rapids, MI 49503-2308
bkfilings@wardroplaw.com

 

Wardrop & Wardrop, P.C. LITIGATION RETAINER EARNED UPON 02/25/2021 $14,000.00
300 Ottawa Avenue, N.W. RECEIPT
Suite 150

Grand Rapids, MI 49503-2308
bkfilings@wardroplaw.com

 

Abacus Credit Counseling Pre-Petition Credit Counseling 2/20/2021 $25.00

www.AbacusCC.org

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

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Case:21-00524-jwo Doc #:48 Filed: 08/16/2021 Page 5of9

Debtor1 Larry Allen Cluchey

Person Who Was Paid

Address

Email or website address

Person Who Made the Payment, if Not You
CC Advising, Inc

703 Washington Ave.

Suite 200

Bay City, MI 48708-5732

transferred

Description and value of any property

pre-petition credit couseling course

Case number (ifknown) 2414-00524

 

Date payment Amount of
or transfer was payment
made

July 2020 Unknown

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

H No
O Yes. Fill in the details.

Person Who Was Paid

Address transferred

18.
transferred in the ordinary course of your business or financial affairs?

Description and value of any property

Date payment
or transfer was
made

Amount of
payment

Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not

include gifts and transfers that you have already listed on this statement.

O No
M@ Yes. Fill in the details.

Person Who Received Transfer

Description and value of
Address

property transferred

Person's relationship to you

Quattro Auto Group LLC
1316 Goldsmith
Plymouth, MI 48170

2019 Honda Ridgeline (VIN
ending in 6726)

None

Describe any property or Date transfer was
payments received or debts made
paid in exchange

$29,500, less Members
First Credit Union lien,
net $14,367

08/18/2020

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a

beneficiary? (These are often called asset-protection devices.)
HM No

O Yes. Fill in the details.

Name of trust

Description and value of the property transferred

Date Transfer was
made

|Part 8: es of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,

sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage

houses, pension funds, cooperatives, associations, and other financial institutions.

Ol No
H Yes. Fill in the details.

Name of Financial Institution and

Last 4 digits of Type of account or Date account was Last balance

Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or

Code) moved, or transfer
transferred

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Best Case Bankruptcy
Case:21-00524-jwo Doc #:48 Filed: 08/16/2021 Page 6of9

Debtor1 Larry Allen Cluchey Case number (ifknown) 2141-00524

 

 

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance

Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or

Code) moved, or transfer
transferred

Lake Michigan Credit Union XXXX-4447 0 Checking July 2020 Larry $15,838.34
P.O Box 2848 O Savings Allen Cluchey
Grand Rapids, MI 49501 01 Money Market removed from

O Brokerage account

@ Other Member

Savings,
Advantage 50
Checking, Money
Market & Max_
Savings JOINT
with Connie Marie
Hoffmann and
Sherry Darlene

Cluchey - all
funds in account

attributed to Joint
Owner Connie
Marie Hoffmann

 

Lake Michigan Credit Union XXXX-3584 01 Checking 07/06/2020 $5,877.11
P.O Box 2848 O Savings
Grand Rapids, MI 49501 CO Money Market

O Brokerage
Hi Other Member

Savings, Free
Checking Money
Market & Max
Savings JOINT
with Connie Marie
Hoffmann - funds
in account
attributed to Joint
Owner Connie
Marie Hoffmann

 

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?
HM No
O Yes. Fill in the details.
Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?
State and ZIP Code)
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
H@ No
O Yes. Fill in the details.
Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?
Address (Number, Street, City,
State and ZIP Code)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Case:21-00524-jwo Doc #:48 Filed: 08/16/2021 Page 7 of 9

Debtor1 Larry Allen Cluchey Case number (ifknown) 2141-00524

 

 

Identify Property You Hold or Control for Someone Else

23.

 

Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
for someone.

H No

O Yes. Fill in the details.

Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)

imine Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.

25.

26.

Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

H No

O Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

Have you notified any governmental unit of any release of hazardous material?

M@ No

O Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

H No

O1 Yes. Fill in the details.

Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Number, Street, City,
State and ZIP Code)

lmabe Give Details About Your Business or Connections to Any Business

27.

 

Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

CA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
01 A member of a limited liability company (LLC) or limited liability partnership (LLP)

OA partner in a partnership
Ban officer, director, or managing executive of a corporation

Hi An owner of at least 5% of the voting or equity securities of a corporation

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Case:21-00524-jwo Doc #:48 Filed: 08/16/2021 Page 8 of 9

Debtor 1 Larry Allen Cluchey Case number (if known)

 

 

21-00524
1 No. None of the above applies. Go to Part 12.
Yes. Check all that apply above and fill in the details below for each business.
Business Name Describe the nature of the business Employer Identification number

Address

Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code)

Name of accountant or bookkeeper
Dates business existed

American Research Products, Inc. design/manufacturing, 50% EIN: XX-XXXXXXX
fdba 571 Gordon Industrial Court Shareholder
Suite E

From-To 02/16/2005 - present - INACTIVE

Byron Center, MI 49315 The CPA Group P.C. (ceased operations in 2020)

4267 Canal Ave., SW
Grandville MI 49418

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

HM No
01 Yes. Fill in the details below.

Name Date Issued
Address
(Number, Street, City, State and ZIP Code)

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

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page 8

Best Case Bankruptcy
Case:21-00524-jwo Doc #:48 Filed: 08/16/2021 Page 9of9

Debtor1 Larry Allen Cluchey Case number (ifknown) 2141-00524

 

 

umes Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571. ,

[ary Corts —
Larry Allen Cluchey O
Signature of Debtor 1

Date /SC ~ ZozZ/ Date

 

Signature of Debtor 2

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
HNo

0 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
BNo
0 Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

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